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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                    JOINT STATUS REPORT

       Pursuant to the Court’s March 31, 2021, Minute Order, the parties respectfully submit the

following joint status report.

       Joint Position of the Plaintiff and Defendants

       Plaintiff and Defendants advise the Court that they have had additional communications,

and anticipate still further communications, that may inform Defendants’ position in this case.

Plaintiff and Defendants therefore request that the parties be directed to file a further status

report on or before May 28, 2021. Plaintiff and Defendants also respectfully suggest that the

status conference scheduled for May 3, 2021, be rescheduled for June 2, 2021.

       Defendants would not object in the meantime to a corresponding extension of the Court’s

prior Minute Orders requiring 72 hours’ notice to counsel for the Defendant-Intervenors before

any release of the Defendant-Intervenors’ tax-return information to the Committee.

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       Position of the Intervenor-Defendants

       Intervenor-Defendants do not oppose the government‘s proposal on how to proceed,

provided the court leaves in place the existing order allowing for notice and an opportunity to

challenge if the government’s position changes.


Dated: April 30, 2021


                                                  Respectfully submitted,


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                                                  JOHN R. GRIFFITHS
                                                  Director

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director



                                                   /s/ James J. Gilligan
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